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Attorney for Defendant Natalya Babichenko

                IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO

                                        )
UNITED STATES OF AMERICA,               )   Case No. CR 18-0258-S-BLW
                                        )
            Plaintiff,                  )   DEFENDANT NATALYA
                                        )   BABICHENKO’S NOTICE OF
      vs.                               )   JOINDER IN ANNA
                                        )   IYERUSALIMETS’ MOTION TO
                                        )   DISMISS SUPERSEDING
PAVEL BABICHENKO,                       )   INDICTMENT FOR ETHNICALLY
GENNADY BABICHENKO,                     )   SELECTIVE PROSECUTION AND
PIOTR BABICHENKO,                       )   ENFORCEMENT
                                        )
TIMOFEY BABICHENKO,                     )
KRISTINA BABICHENKO,                    )
NATALYA BEBICHENKO,                     )
DIVID BIBIKOV,                          )
ANNA IYERUSALIMETS,                     )
MIKHAIL IYERUSALIMETS,                  )
ARTUR PUPKO,                            )
                                        )
            Defendants.                 )

      Defendant Natalya Babichenko, through her attorney, gives notice that she

joins in the Motion to Dismiss Superseding Indictment for Ethnically Selective

Prosecution and Enforcement (Dkts. 364 & 365). Defendant Natalya Babichenko

adopts the arguments set forth in said Motion.

      Respectfully submitted this 27th day of February, 2020.

                                      ______/s/__________________
                                      J. D. Merris
                                      Attorney for Defendant Natalya Babichenko


DEFENDANT NATALYA BABICHENKO’S NOTICE OF JOINDER IN ANNA
IYERUSALIMETS’ MOTION TO DISMISS SUPERSEDING INDICTMENT FOR
ETHNICALLY SELECTIVE PROSECUTION AND ENFORCEMENT - 1
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of February, 2020, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system which sent a
Notice of Electronic Filing to the following persons.

                                 Bart M. Davis
                                 United States Attorney
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                                 Christian Nafzger
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                                 Other parties as more fully reflected
                                 on the Notice of Electronic Filing


                                              /s/               .
                               J. D. MERRIS




DEFENDANT NATALYA BABICHENKO’S NOTICE OF JOINDER IN ANNA
IYERUSALIMETS’ MOTION TO DISMISS SUPERSEDING INDICTMENT FOR
ETHNICALLY SELECTIVE PROSECUTION AND ENFORCEMENT - 2
